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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                    NO. 4:13CR00344-01 JLH

MARK LYLE DODSON                                                                    DEFENDANT

                                             ORDER

         On December 11, 2014, the Court entered an order setting a deadline of December 23,

2014, for counsel for the government or defendant to dispute the findings in the forensic evaluation

report, to file a motion for hearing, or motion in opposition to the report, including a concise

statement of opposition to the report and supporting authorities.

       No opposition to the report has been filed. Therefore, the conclusions stated in the report

are adopted as the conclusions and findings of the Court.

       IT IS SO ORDERED this 7th day of January, 2015.




                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
